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December 15, 2017

ZUl'l IJEE l5 Pl‘l ?- 08

Dear Judge Gorton,

Please find included as Exhibit A one of the notes which justina Pelletier dD\Fr?m§FW time at
the Wayside Youth and Fami|y Support Network and then smuggled to hef) am[f)m §§Il@rgp`gg_fear of
reprisal for violating the treatment plan set forth by Boston Chiidren's Hospita|.'That pian forbade
iustina from discussing her condition and care with her family during their supervised weekly l-hour
visits and monitored weekly ZO-minute phone calls. This note was published by TheB|aze on Apri| 15,
2014, days before the alleged primary events in this case (please see Exhibit B). Justina’s father told
TheB|aze that "she's been risking life and limb to get any bit of information to us," and “she’s being
allowed to be tortured in this country, |'l| leave it at that.”

P|ease also find included as exhibit C an article written by Liz Klimas and published on February 17, 2014
by TheBlaze entitled, “Father 50 Heartbroken About Daughter He|d at Hospita| Against His Wil| He just
Defied a Judge's Order to Tali< to Us: 'l Want to Have A|l My Guns Blazing."‘ |n it, Justina's father Lou
Pe||etier publicly stated that without her mito treatments, Justina's life was in danger.

Sad|y of course, Justina is still in a wheelchair due to the effects of having her mito therapies withheld
for 16 months at the insistence of Boston Chi|dren’s, who also refused to allow outside doctors to
examine Justina.

l<nowing that documents linking at least one individual to Boston Children's and Wayside have been
taken down offthe |nternet and that Nlr. Bookbinder has withdrawn from the case, l wanted to make
sure that someone brought this all to your attention.

Thank you for your time,

Dana Gottesfeid

